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                                EXHIBIT B (contd.)

                         Copy of All Filings with State Court
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                                                                                           Velva L. Price
                                                                                           District Clerk
                                                                                          Travis County
                                                                                       D-1-GN-18-001835
                                  D-1-GN-18-001605                                      Gilberto Diaz Rios

  MARCEL FONTAINE                             §                   IN DISTRICT COURT OF
                                              §
  VS.                                         §
                                              §                  TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,               §
  FREE SPEECH SYSTEMS, LLC, and               §
  KIT DANIELS                                 §                   459th DISTRICT COURT

                                  D-1-GN-18-001835
  NEIL HESLIN and                             §                   IN DISTRICT COURT OF
  SCARLETT LEWIS                              §
                                              §                  TRAVIS COUNTY, TEXAS
  VS.                                         §
                                              §                   261st DISTRICT COURT
  ALEX E. JONES, INFOWARS, LLC,               §
  FREE SPEECH SYSTEMS, LLC, and               §
  OWEN SHROYER                                §

                                  D-1-GN-18-001842
  LEONARD POZNER and                          §                   IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                        §
                                              §                  TRAVIS COUNTY, TEXAS
  VS.                                         §
                                              §                   345th DISTRICT COURT
  ALEX E. JONES, INFOWARS, LLC,               §
  and FREE SPEECH SYSTEMS, LLC                §


   PLAINTIFFS’ MOTION FOR LEAVE TO DESIGNATE EXPERT ON NET WORTH


        This Court may permit a party to designate an expert outside the discovery period for

 good cause. Plaintiff submits the attached designation for expert Bernard Pettingill so that

 he may give an opinion on Defendants’ net worth. This designation has become necessary



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 because Defendants failed to comply with this Court’s discovery order and did not provide

 adequate evidence or testimony of net worth.

                                      BACKGROUND

        Defendants were ordered to respond to net worth discovery and provide deposition

 testimony on the topic of net worth. In response to the Court’s net worth order:

        •   Free Speech Systems produced a one-page partially redacted document
            purporting to be a “balance sheet” for 2020. That document is not
            certified and audited. (Ex. 1, Redacted Balance Sheet)

        •   Free Speech Systems provided an incomplete and vague interrogatory
            answer with a promise to supplement. (Ex. 2, Free Speech Systems
            Interrogatory Response).

        •   Mr. Jones did not produce any financial statement whatsoever reflecting
            his net worth. Mr. Jones only provided an incomplete interrogatory
            answer with a promise to supplement. (Ex. 3, Alex Jones Interrogatory
            Response).

        •   Both Defendants provided banking records for 2021, but these records
            were almost completely redacted with no authority to do so.

        •   Neither Defendant responded to the Order to provide:

                  “A list of all assets transferred in any manner since April 16, 2018.
                  Transfers in the routine course of business which resulted in an
                  exchange of assets or services of substantially equivalent value
                  need not be specifically disclosed.”

        •   On February 15, 2022, Free Speech Systems appeared for its net worth
            deposition. The designee failed to give unequivocal answers regarding
            net worth, could not explain the documents produced, could not explain
            the discovery answers, had no understanding of basic finance terms, and
            claimed she was “not good with numbers.” (See Plaintiff’s Motion for
            Sanctions Regarding Corporate Deposition).

        •   The designee brought notes to deposition which do not square with her
            testimony or the company’s discovery answers, including personal draws
            by Alex Jones of $18 million from 2018-2021. The notes also disclose $10
            million in “developing facilities,” and an alleged $18 million “in costs
            associated with litigation.” (Ex. 4, Paz Notes).

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        •   The net worth deposition revealed that the company had withheld
            numerous financial documents relevant to net worth which had been
            reviewed by the witness. (Id.).

        Defendants failed to comply with the Court’s order in numerous respects, and the

 evidence and testimony they provided is not adequate proof of net worth under well-

 established case law. As such, Plaintiff will require expert testimony to examine the

 information provided, along with the company’s revenue data and other documents

 previously produced, to formulate an opinion as to the company’s net worth. This motion

 has been filed as soon as possible after the failed net worth deposition, and thus there is good

 cause to grant the motion based on the company’s failure to comply with the order.

                                         ARGUMENT

 I.     Defendants’ Discovery Responses and Testimony are Inadequate Proof of
        Net Worth.

        “[I]n Ramirez, the Texas Supreme Court described the type of discovery that would

 be adequate to obviate the need [for additional net worth discovery].” In re Brewer Leasing,

 Inc., 255 S.W.3d 708, 713 (Tex. App.—Houston [1st Dist.] 2008, no pet.), citing Sears, Roebuck

 & Co. v. Ramirez, 824 S.W.2d 558, 559 (Tex. 1992). In Ramirez, “Sears disclosed its net worth

 ‘by providing its audited and certified annual reports’ and by including an affidavit by the

 Manager of Federal Income Tax Returns for Sears that stated that the annual reports

 accurately reflected Sears's net worth. Id., quoting Ramirez at 559. By contrast, in Brewer, the

 Houston court was faced was uncertified, unaudited balance sheets, which it described as

 follows:

               [E]ach of the corporations produced a balance sheet in response
               to the requests for production. The balance sheets were each
               preceded by an accountant's letter describing how the figures

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                 were calculated. The accountant who prepared the balance
                 sheet for Brewer said that it was “prepared on the cash basis of
                 accounting which is a comprehensive basis of accounting other
                 than generally accepted accounting principles.” The accountant
                 who prepared the balance sheet for Texas Stretch stated that it
                 was prepared “in accordance with Statements on Standards for
                 Accounting and Review Services issued by the American
                 Institute of Certified Public Accountants.” In each letter, the
                 accountant stated that he did “not express an opinion or any
                 other form of assurance” on the balance sheet because the
                 information came from the corporation's financial statements,
                 which had not been audited or reviewed.

 Id. at 711. Under that scenario, the Brewer court did not “agree that the balance sheets

 provided by [defendant] are the equivalent of Sears's annual report found adequate to

 constitute the sole evidence of net worth in Ramirez” because “[u]nlike the Sears disclosure

 of net worth, here the balance sheets are not audited, not certified, and do not include any

 affidavit or other statement 1 to represent that they accurately reflect the net worth of the

 corporations.” Id at 713. Because the court in Brewer “determined that the balance sheets

 were inadequate evidence of the net worth of the corporations,” it acted properly by allowing

 additional discovery. Id. Here, the information and testimony produced by Defendants was

 not compliant with the order, and under Ramirez, that unaudited balance sheets produced

 by Defendants cannot stand as sole evidence of net worth. As such, Plaintiffs require

 testimony from an expert to arrive an opinion on net worth.




 1The balance sheet for Free Speech Systems, LLC includes a verification signed by Alex Jones, stating
 the answers are true “to the best of his knowledge.” Ironically, Defendants themselves pointed out in
 prior correspondence in Fontaine that “to the best of his knowledge” is not legally sufficient for a
 verification. See e.g. Burke v. Satterfield, 525 S.W.2d 950, 954-55 (Tex. 1975) (concluding that affidavit
 stating facts were “true and correct to the best of his knowledge’” was not sufficient); Perez v. State,
 No. 03-08-00131-CR, 2009 WL 2059078, *6 (Tex. App.- Austin July 16, 2009, no pet.) (finding
 affidavit that asserted that allegations "are true and correct to the best of my knowledge and belief”
 was insufficient).
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 II.    The Credibility of Defendants’ Representations about Net Worth is Severely
        Undermined Due to Sanctions Involving its Retained Litigation Accountant.

        During the corporate deposition, the designee revealed that her statements about the

 company’s net worth and financial structure came directly from an outside consultant,

 Robert Roe. Given Mr. Roe’s history, his conclusions cannot be accepted as adequate

 evidence of net worth. Mr. Roe was found “not credible” after he was involved in Defendants

 providing manipulated balance sheets to the Lafferty plaintiffs. (See Plaintiffs’ February 22nd

 Motion for Sanctions for Evidence Tampering, p. 9). The Lafferty court noted that the

 documents provided by Roe “contain trial balances that did not balance.” (Id.). The court

 granted a default in part because “[t]hese sanitized, inaccurate records created by Roe were

 simply not responsive to the plaintiff's request or to the Court's order.” (Id.).

        Following the corporate deposition, Plaintiffs now know that any information

 concerning net worth has been filtered through Mr. Roe. Furthermore, by presenting an

 unprepared corporate designee, Plaintiffs were prevented from shining any light on Mr.

 Roe’s work or his conclusions. Since Defendants have not fully complied, and since the

 information they did provide comes from a source already found not to be credible, Plaintiffs

 should have the opportunity to offer expert testimony to fill the gap in the evidence.

                                          CONCLUSION

        For the above reasons, Plaintiffs pray this Court grants them leave to designate

 Bernard Pettingill on the subject of net worth.




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                                       Respectfully submitted,

                                       KASTER LYNCH FARRAR & BALL, LLP


                                       ____________________________________
                                       MARK D. BANKSTON
                                       State Bar No. 24071066
                                       WILLIAM R. OGDEN
                                       State Bar No. 24073531
                                       1117 Herkimer
                                       Houston, Texas 77008
                                       713.221.8300 Telephone
                                       713.221.8301 Fax




                          CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with opposing counsel about this Motion, who
 confirmed that Defendants are opposed.




                                       ____________________________________
                                       MARK D. BANKSTON



                             CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2021 the forgoing document was served
 upon all counsel of record via electronic service.




                                       ____________________________________
                                       MARK D. BANKSTON


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                                   D-1-GN-18-001605
  MARCEL FONTAINE                               §                  IN DISTRICT COURT OF
                                                §
  VS.                                           §
                                                §                  TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,                 §
  FREE SPEECH SYSTEMS, LLC, and                 §
  KIT DANIELS                                   §                   459th DISTRICT COURT

                                   D-1-GN-18-001835
  NEIL HESLIN and                               §                  IN DISTRICT COURT OF
  SCARLETT LEWIS                                §
                                                §                  TRAVIS COUNTY, TEXAS
  VS.                                           §
                                                §                   261st DISTRICT COURT
  ALEX E. JONES, INFOWARS, LLC,                 §
  FREE SPEECH SYSTEMS, LLC, and                 §
  OWEN SHROYER                                  §

                                   D-1-GN-18-001842
  LEONARD POZNER and                            §                  IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                          §
                                                §                  TRAVIS COUNTY, TEXAS
  VS.                                           §
                                                §                   345th DISTRICT COURT
  ALEX E. JONES, INFOWARS, LLC,                 §
  and FREE SPEECH SYSTEMS, LLC                  §


        ORDER ON PLAINTIFFS’ MOTION FOR LEAVE TO DESIGNATE EXPERT


        On this day, the Court considered Plaintiffs’ Motion for Leave to Designate Expert.

 After considering the Motion, the Court finds there is good cause to permit the designation

 of a net worth expert. Plaintiffs’ Motion is therefore granted.




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       Dated ___________________________, 2022.



                                                        _____________________________________
                                                        Hon. Maya Guerra Gamble




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                                  D-1-GN-18-001605
  MARCEL FONTAINE                             §                   IN DISTRICT COURT OF
                                              §
  VS.                                         §
                                              §                  TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,               §
  FREE SPEECH SYSTEMS, LLC, and               §
  KIT DANIELS                                 §                   459th DISTRICT COURT

                                  D-1-GN-18-001835
  NEIL HESLIN and                             §                   IN DISTRICT COURT OF
  SCARLETT LEWIS                              §
                                              §                  TRAVIS COUNTY, TEXAS
  VS.                                         §
                                              §                   261st DISTRICT COURT
  ALEX E. JONES, INFOWARS, LLC,               §
  FREE SPEECH SYSTEMS, LLC, and               §
  OWEN SHROYER                                §

                                  D-1-GN-18-001842
  LEONARD POZNER and                          §                   IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                        §
                                              §                  TRAVIS COUNTY, TEXAS
  VS.                                         §
                                              §                   345th DISTRICT COURT
  ALEX E. JONES, INFOWARS, LLC,               §
  and FREE SPEECH SYSTEMS, LLC                §


              PLAINTIFFS’ SUPPLEMENTAL DESIGNATION OF EXPERTS


        COMES NOW, Plaintiffs, and files this Supplemental Designation of Expert Witnesses,

 and in supplementation of all prior discovery requests requesting identification of fact and

 expert witnesses, state as follows:




                                             -1-
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        Supplemental Retained Expert Witness

        Bernard Pettingill
        93 Sandbourne Lane
        Palm Beach Gardens, Florida, 33418
        561-622-0330

        Mr. Pettingill is a forensic economist. Mr. Pettingill will provide opinions about the
        net worth and financial condition of the Defendants. Mr. Pettingill will review
        Defendants’ net worth interrogatory answers, documents produced in response to
        net worth discovery, the deposition of Brittany Paz as Free Speech Systems’ corporate
        representative on the topic of net worth, the document produced by Defendants
        purporting to set forth operating expenditures and profit-loss figures, the documents
        and notes brought by Ms. Paz to deposition, the purported 2020 balance sheet, the
        2020 UCC financing statement, and FSSTX-086585 – FSSTX-086615. Mr. Pettingill’s
        CV is attached as Exhibit “1.”


                                           Respectfully submitted,

                                           KASTER LYNCH FARRAR & BALL, LLP


                                           ____________________________________
                                           MARK D. BANKSTON
                                           State Bar No. 24071066
                                           WILLIAM R. OGDEN
                                           State Bar No. 24073531
                                           1117 Herkimer
                                           Houston, Texas 77008
                                           (713) 221-8300 Telephone
                                           (713) 221-8301 Fax



                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 24, 2022, the forgoing document was served upon
 all counsel of record via electronic service.




                                           ____________________________________
                                           MARK D. BANKSTON
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                                  BERNARD F. PETTINGILL, JR., PH.D.
                                  Consulting Economist

                                 EDUCATION


                                 Manchester University
                                 Manchester, England

                                 Graduate, January 1977, Ph.D. - Economics
                                 Department of Economics and Social Administration
                                 Dissertation: “Cost-Benefit Analysis of the Treatment of Arthritis – A
                                 Comparison of Five Hospitals”

                                 Tulane University
Contact                          New Orleans, Louisiana

                                 Graduate, June 1973 – MPH – Master Public Health
ADDRESS:                         Department of Health Economics and Medical Care Administration

#93 SANDBOURNE LANE              Loyola University
                                 New Orleans, Louisiana
PGA NATIONAL

PALM BEACH GARDENS, FL 33418     Graduate, June 1971. MBA – Economics, June 1969
                                 BBA – Business Administration


PHONE:
                                 ORGANIZATI0NS
561-622-0330

561-346-7828                     • Member, American Society of Health Economists, 2008-Present
888-577-7747                     • Member, City of Palm Beach Gardens Budget Committee, 2007-2012
                                 • Member, AAEFE, 1989-Present
                                 • Member, American Economic Association, 1983-Present
                                 • Member, National Association of Forensic Economists, 1989-Present
FAX:
                                 • Member, National Association of Business Economists, 1990-Present
561-624-2854                       (Health Roundtable)
                                 • Member, Health Economics Study Group, Great Britain, 1973-Present

WEB PAGE:                        • Member, Gideons International, 1978-Present (Past President)

www.bpettingill.com              • Member, Rotary International, 1983-2012
                                 • Referee Journal of Forensic Economics (2 years)
EMAIL:                           •Licensed, State of Florida and State of Louisiana, Health and Life
                                   Insurance. No. 43972-6317 (FL)
biffpett@gmail.com
                                 •Associate Member, National Structured Settlements Trade Association
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EXPERIENCE

1985 to Present                      FORENSIC ECONOMIST/MEDICAL & PROFESSIONAL PRACTICE
                                     Financial Analysis, Structured Settlement Negotiations

1988 to 1998                         FLORIDA INSTITUTE OF TECHNOLOGY
                                     Graduate Business School
                                     Treasure Coast Graduate Center
                                     Stuart, Florida.

                                     Professor of Economics - Taught Advanced Macroeconomics,
                                     Managerial Economics, Health Care Economics, Advanced
                                     Microeconomics (Retired)

                                     PALM BEACH ATLANTIC COLLEGE
1987 to 1988
                                     Rinker School of Business
                                     West Palm Beach, Florida

                                     Professor of Economics - Taught Microeconomics, Macroeconomics,
                                     Free Enterprise System and International Economics

                                     UNIVERSITY OF SOUTHWESTERN LOUISIANA
1980 to 1987
                                     Lafayette, Louisiana.
                                     College of Business Administration

                                     Associate Professor - Taught undergraduate and graduate courses
                                     in Economics, Finance and Management

1978 to 1980                         LSU MEDICAL CENTER
                                     New Orleans, Louisiana
                                     Department of Medicine

                                     Associate Professor and Administrative Assistant - Principal duties at
                                     Medical School included lectures in Medical Economics, grant
                                     writing, and computer-assisted data analysis for drug research

1977 to 1978                         UNIVERSITY OF NEW ORLEANS
                                     New Orleans, Louisiana
                                     Department of Economics and Management

                                     Assistant Professor - Taught undergraduate courses in Economics
                                     and Health Care

                                     UNIVERSITY OF MANCHESTER
1975 to 1977
                                     Manchester, England
                                     Department of Economics and Social Administration

                                     Research Associate - Dual appointment: Lecturer in Economics and
                                     Course Coordinator of the Administrative Development Course for
                                     Hospital Administrators

1974 to 1975                         CENTRE FOR STUDIES IN ECONOMICS AND SOCIAL POLICY
                                     London, England

                                     Research Fellow - Primary task was a case study of Wigan
                                     Community Health Council. Research published in a sequel to the
                                     book, Politics of Consumer Representation, by R. Klein and J. Lewis,
                                     Centre for Studies in Social Policy, London, England.
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Filed/First Use in Commerce September 11, 2007.

Puzzle 8 – Awaiting Publication DatePandemgear – Awaiting Publication Date\\



PHONE/ANDROID APPLICATIONS


JDSM – Jury Deliberation Selection Measure. 5 Minute Patented Video used as a Jury Selection Tool. (Patent No. U.S.
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iFi Game – International Financial Games -10 Modules to Teach Finance to Children. Reg. No. 3,984,206. First used in
Commerce 07-01-2010.

ITWEET – Interactive Program to Translate Tweet Abbreviations into Common English Phrases. (Patent Applied for July
2015), www.youtube.com/watch?4=44aV2Thx4e A8+ = 75$



MOVIES AND EDITORIALS


Executive Producer –

“City of A Million Dreams” 89 minute on History of New Orleans and Jazz Through Funerals. See www.NYTimes.com/
video/opinion/1000000007768852 - YouTube.

“Don’t Let the World Swallow You,” First in a Series of Conversations with God, by James Tuthill, J.D. (9781689519267)
published January 2020. The Greatest Heroes in the Bible.
      22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 18
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3:40 PM                          Free  Speech  Systems, LLC
12/03/21                                             Balance Sheet
Accrual Basis                                      As of December 31, 2020

                                                                             Dec 31, 20
                ASSETS
                  Current Assets
                    Checking/Savings
                       10500 · Petty Cash                                            960.21
                       10700 ·                                                   525,368.16

                     Total Checking/Savings                                      526,328.37

                     Accounts Receivable

                     Other Current Assets
                       12100 · Inventory                                       1,334,453.01
                       12200 · Pre-paid Insurance                                 19,847.64
                       12225 · Pre-Paid Software Licenses                        120,042.71
                       12250 · Pre-paid Vendor Deposits                          244,439.08
                       12350 · Pre-paid Other                                     14,394.78

                     Total Other Current Assets                                1,733,177.22

                  Total Current Assets                                         2,259,505.59

                  Fixed Assets
                     15000 · Gross Fixed Assets                                6,614,555.12

                     17000 · Accumulated Depreciation                         (4,882,677.55)

                  Total Fixed Assets                                           1,731,877.57

                  Other Assets
                    18700 · Security Deposits                                     43,376.38

                     19000 · Intangible Assets                                   406,371.59

                  Total Other Assets                                             449,747.97

                TOTAL ASSETS                                                   4,441,131.13

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Accounts Payable
                             20000 · Accounts Payable                          1,720,323.04

                        Total Accounts Payable                                 1,720,323.04

                        Credit Cards
                          22000 · FSS                                            388,762.21
                          22500 · FSS                                                (29.28)

                        Total Credit Cards                                       388,732.93

                        Other Current Liabilities
                          23000 · Accrued Liabilities                                (20.00)
                          23100 · Interest Payable - PQPR                        198,604.37
                          27400 · Due to PQPR                                        156.04

                        Total Other Current Liabilities                          198,740.41

                     Total Current Liabilities                                 2,307,796.38

                     Long Term Liabilities
                       28000 · Deferred Rent                                      25,884.44
                       29000 · Note Payable PQPR                              54,876,000.00
                       29500 · Note Payable                                      112,338.43

                     Total Long Term Liabilities                              55,014,222.87

                  Total Liabilities                                           57,322,019.25

                  Equity
                    30000 · Member's Equity                                  (55,525,620.63)


                                                                                                        Page 1

                             CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER -                       FSS_NET_0204
                                        ATTORNEY'S EYES ONLY
      22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 19
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3:40 PM                          Free  Speech  Systems, LLC
12/03/21                                          Balance Sheet
Accrual Basis                                   As of December 31, 2020

                                                                          Dec 31, 20
                    32000 · Retained Earnings                               9,672,565.92
                    Net Income                                             (7,027,833.41)

                  Total Equity                                            (52,880,888.12)

                TOTAL LIABILITIES & EQUITY                                  4,441,131.13




                                                                                                     Page 2

                            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER -                     FSS_NET_0205
                                       ATTORNEY'S EYES ONLY
22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 20
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                               CAUSE NO. D-1-GN-18-001835

  NEIL HESLIN,                              §          IN THE DISTRICT COURT OF
                                            §
                  Plaintiff,                §
                                            §
                                            §
  v.                                        §               TRAVIS COUNTY, TEXAS
                                            §
                                            §
  ALEX E. JONES, INFOWARS, LLC, FREE        §
  SPEECH SYSTEMS, LLC, AND OWEN             §
  SHROYER                                   §
                                            §               459th JUDICIAL DISTRICT
                 Defendants,                §

                               CAUSE NO. D-1-GN-18-001842

  LEONARD POZNER AND                        §          IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA,                     §
                                            §
                  Plaintiff,                §
                                            §
  v.                                        §               TRAVIS COUNTY, TEXAS
                                            §
  ALEX E. JONES, INFOWARS, LLC, AND         §
  FREE SPEECH SYSTEMS, LLC,                 §
                                            §
                 Defendants,                §               459th JUDICIAL DISTRICT

                               CAUSE NO. D-1-GN-18-006623

  SCARLETT LEWIS,                           §          IN THE DISTRICT COURT OF
                                            §
                  Plaintiff,                §
                                            §
  v.                                        §               TRAVIS COUNTY, TEXAS
                                            §
  ALEX E. JONES, INFOWARS, LLC, AND         §
  FREE SPEECH SYSTEMS, LLC,                 §
                                            §
                 Defendants,                §               459th JUDICIAL DISTRICT

            DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, ANSWER TO
                 INTERROGATORY REGARDING NET WORTH
22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 21
                                      of 183



 To:    Plaintiff, Neil Heslin, by and through his attorneys of record, Mark Bankston and William
        Ogden, KASTER LYNCH FARRAR & BALL, LLP, 1117 Herkimer Street Houston, TX 77008.

 To:    Plaintiffs, Leonard Pozner and Veronique De La Rosa, by and through their attorneys of
        record, Mark Bankston and William Ogden, KASTER LYNCH FARRAR & BALL, LLP, 1117
        Herkimer Street Houston, TX 77008.

 To:    Plaintiff, Scarlett Lewis, by and through her attorneys of record, Mark Bankston and
        William Ogden, KASTER LYNCH FARRAR & BALL, LLP, 1117 Herkimer Street Houston,
        TX 77008.

        Pursuant to Rule 197 of the Texas Rules of Civil Procedure and in accordance with the Court’s

 Order dated November 4, 2021, and subject to the Confidentiality and Protective Order entered in this

 case, Defendant, Free Speech Systems, LLC, provides the following answer to the Interrogatory

 Regarding Net Worth. Defendant will further supplement its answer as necessary in accordance with

 the Texas Rules of Civil Procedure.

 Dated: December 8, 2021.

                                       Respectfully submitted,

                                       REEVES LAW, PLLC

                                       By:    /s/ Bradley J. Reeves__________
                                       Bradley J. Reeves
                                       Texas Bar No. 24068266
                                       brad@brtx.law
                                       702 Rio Grande St., Suite 203
                                       Austin, Texas 78701
                                       Telephone: (512) 827-2246
                                       Facsimile: (512) 318-2484

                                       Attorney for Defendants




                                                  2
22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 22
                                      of 183



                                 CERTIFICATE OF SERVICE

        I certify that a true copy of the above was served on each attorney of record or party in
 accordance with the Texas Rules of Civil Procedure on December 8, 2021.

 Mark Bankston                                via email
 William Ogden
 KASTER LYNCH FARRAR & BALL, LLP
 1117 Herkimer Street
 Houston, TX 77008

                                     By:     /s/ Bradley J. Reeves__________
                                               Bradley J. Reeves




                                                  3
22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 23
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  DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, ANSWER TO INTERROGATORY REGARDING NET
                                     WORTH

 INTERROGATORY NO. 1: Provide a statement of your net worth. The term “net worth”
 means the amount by which total assets (including income) exceed total liabilities. Assets shall
 include items such as cash on hand, cash in accounts, checking, savings, brokerage, securities,
 cryptocurrency, tradeable commodities, precious metals, vehicles, business equipment, real
 estate, personal items, and negotiable instruments. Liabilities shall include such items as loans,
 notes, accounts payable, credit card balances, and mortgages. The statement of net worth should
 include:

        a. All income and assets whatsoever kind and nature and wherever situated.

        b. A list of all assets transferred in any manner since April 16, 2018. Transfers in the
           routine course of business which resulted in an exchange of assets or services of
           substantially equivalent value need not be specifically disclosed.

 ANSWER:

         Defendant’s current estimated net worth is based on the information in its 2020 balance
 sheet, which provides assets and liabilities as of December 31, 2020. Defendant is in the process
 of preparing its reconciliation and year-end balance sheet for 2021 and will further supplement
 this answer as necessary once that balance sheet for 2021 has been completed. Based on the latest
 available information from the December 31, 2020 balance sheet, Defendant’s net worth is
 approximately negative $52,880,888.00, which is comprised of the following assets and liabilities
 (which are again as of December 31, 2020—bank account records for 2021 have been produced
 but are not included in the current assets and liabilities statement):

    -   Assets
           o     Petty cash = $960.21
           o     Bank accounts with cash of approximately $525,328.16
           o     Inventory worth approximately $1,334,453.01
           o     Pre-paid insurance of $19,847.64
           o     Pre-paid software licenses of $120,042.71
           o     Prepaid vendor deposits of $244,439.09
           o     Pre-paid other of $14,394.78
           o     Gross fixed assets of $1,731.877.57
           o     Security deposits of $43,376.328
           o     Intangible assets of $406,371.59

    -   Liabilities
           o Credit card liabilities of $388,732.93
           o Current short term liabilities of $198,740.41
           o Long term liabilities of $55,014,222.87 mainly comprised of a significant note
                payable to PQPR




                                                  4
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           o Defendant also has current unknown potential liabilities arising out of current
             lawsuits

 Defendant will further supplement this answer as necessary in accordance with the Texas Rules
 of Civil Procedure.




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                               CAUSE NO. D-1-GN-18-001835

  NEIL HESLIN,                              §          IN THE DISTRICT COURT OF
                                            §
                  Plaintiff,                §
                                            §
                                            §
  v.                                        §               TRAVIS COUNTY, TEXAS
                                            §
                                            §
  ALEX E. JONES, INFOWARS, LLC, FREE        §
  SPEECH SYSTEMS, LLC, AND OWEN             §
  SHROYER                                   §
                                            §               459th JUDICIAL DISTRICT
                 Defendants,                §

                               CAUSE NO. D-1-GN-18-001842

  LEONARD POZNER AND                        §          IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA,                     §
                                            §
                  Plaintiff,                §
                                            §
  v.                                        §               TRAVIS COUNTY, TEXAS
                                            §
  ALEX E. JONES, INFOWARS, LLC, AND         §
  FREE SPEECH SYSTEMS, LLC,                 §
                                            §
                 Defendants,                §               459th JUDICIAL DISTRICT

                               CAUSE NO. D-1-GN-18-006623

  SCARLETT LEWIS,                           §          IN THE DISTRICT COURT OF
                                            §
                  Plaintiff,                §
                                            §
  v.                                        §               TRAVIS COUNTY, TEXAS
                                            §
  ALEX E. JONES, INFOWARS, LLC, AND         §
  FREE SPEECH SYSTEMS, LLC,                 §
                                            §
                 Defendants,                §               459th JUDICIAL DISTRICT

                     DEFENDANT, ALEX JONES’S, ANSWER TO
                   INTERROGATORY REGARDING NET WORTH
22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 28
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 To:    Plaintiff, Neil Heslin, by and through his attorneys of record, Mark Bankston and William
        Ogden, KASTER LYNCH FARRAR & BALL, LLP, 1117 Herkimer Street Houston, TX 77008.

 To:    Plaintiffs, Leonard Pozner and Veronique De La Rosa, by and through their attorneys of
        record, Mark Bankston and William Ogden, KASTER LYNCH FARRAR & BALL, LLP, 1117
        Herkimer Street Houston, TX 77008.

 To:    Plaintiff, Scarlett Lewis, by and through her attorneys of record, Mark Bankston and
        William Ogden, KASTER LYNCH FARRAR & BALL, LLP, 1117 Herkimer Street Houston,
        TX 77008.

        Pursuant to Rule 197 of the Texas Rules of Civil Procedure and in accordance with the Court’s

 Order dated November 4, 2021, and subject to the Confidentiality and Protective Order entered in this

 case, Defendant, Alex Jones, provides the following answer to the Interrogatory Regarding Net

 Worth. Defendant will further supplement his answer as necessary in accordance with the Texas Rules

 of Civil Procedure.

 Dated: December 8, 2021.

                                       Respectfully submitted,

                                       REEVES LAW, PLLC

                                       By:    /s/ Bradley J. Reeves__________
                                       Bradley J. Reeves
                                       Texas Bar No. 24068266
                                       brad@brtx.law
                                       702 Rio Grande St., Suite 203
                                       Austin, Texas 78701
                                       Telephone: (512) 827-2246
                                       Facsimile: (512) 318-2484

                                       Attorney for Defendants




                                                  2
22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 29
                                      of 183



                                 CERTIFICATE OF SERVICE

        I certify that a true copy of the above was served on each attorney of record or party in
 accordance with the Texas Rules of Civil Procedure on December 8, 2021.

 Mark Bankston                                via email
 William Ogden
 KASTER LYNCH FARRAR & BALL, LLP
 1117 Herkimer Street
 Houston, TX 77008

                                     By:     /s/ Bradley J. Reeves__________
                                               Bradley J. Reeves




                                                  3
22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 30
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        DEFENDANT, ALEX JONES’S, ANSWER TO INTERROGATORY REGARDING NET WORTH

 INTERROGATORY NO. 1: Provide a statement of your net worth. The term “net worth”
 means the amount by which total assets (including income) exceed total liabilities. Assets shall
 include items such as cash on hand, cash in accounts, checking, savings, brokerage, securities,
 cryptocurrency, tradeable commodities, precious metals, vehicles, business equipment, real
 estate, personal items, and negotiable instruments. Liabilities shall include such items as loans,
 notes, accounts payable, credit card balances, and mortgages. The statement of net worth should
 include:

          a. All income and assets whatsoever kind and nature and wherever situated.

          b. A list of all assets transferred in any manner since April 16, 2018. Transfers in the
             routine course of business which resulted in an exchange of assets or services of
             substantially equivalent value need not be specifically disclosed.

 ANSWER:

         Defendant’s current estimated net worth is negative $20,635,000.00, which is comprised
 of the following assets and liabilities (including asset of negative equity in Free Speech Systems,
 LLC):

    -     Assets
             o Bank accounts with cash of approximately $458,000.00
             o Income beneficiary of a $25,900,000.00 note due to sale of closely held business
                 interest (note is interest only note)
             o Cryptocurrency valued at approximately $206,800 based on current market rates
             o Real estate comprised of 3 properties valued at approximately $2,350,000.00
             o $3,100,000.00 in proceeds of November 2021 sale of homestead, which such
                 proceeds are held in a 1031 exchange trust
             o Equity interest of ($53,000,000) based on book balance of Free Speech Systems,
                 LLC
             o Household items, collectibles, personal property valued at approximately
                 $200,000.00;
             o Vehicles valued at approximately $150,000.00

    -     Liabilities
             o Current unknown contingent liabilities based on pending lawsuits
             o Defendant is also a personal guarantor of several leases and certain loans for
                  which the current potential liability is unknown.

 Defendant will further supplement this answer as necessary in accordance with the Texas Rules
 of Civil Procedure.




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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 32
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 33
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 34
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 22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 35
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                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.

Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 62311581
Status as of 3/8/2022 10:34 AM CST

Associated Case Party: NEIL HESLIN

Name                  BarNumber   Email                          TimestampSubmitted    Status

Avishay Moshenberg                avi.moshenberg@mhllp.com       3/4/2022 1:20:34 PM   SENT

Mark D.Bankston                   mark@fbtrial.com               3/4/2022 1:20:34 PM   SENT



Associated Case Party: ALEXEJONES

Name                BarNumber   Email                  TimestampSubmitted    Status

Jacquelyn W.Blott               jblott@jblottlaw.com   3/4/2022 1:20:34 PM   SENT



Associated Case Party: INFOWARS LLC

Name                BarNumber   Email                  TimestampSubmitted    Status

Jacquelyn W.Blott               jblott@jblottlaw.com   3/4/2022 1:20:34 PM   SENT



Associated Case Party: OWEN SHROYER

Name                BarNumber   Email                  TimestampSubmitted    Status

Jacquelyn W.Blott               jblott@jblottlaw.com   3/4/2022 1:20:34 PM   SENT



Associated Case Party: FREE SPEECH SYSTEMS LLC

Name                BarNumber   Email                  TimestampSubmitted    Status

Jacquelyn W.Blott               jblott@jblottlaw.com   3/4/2022 1:20:34 PM   SENT



Case Contacts

Name
 22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 36
                                       of 183
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certificate of service that complies with all applicable rules.

Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 62311581
Status as of 3/8/2022 10:34 AM CST

Case Contacts

William Ogden             bill@fbtrial.com             3/4/2022 1:20:34 PM   SENT

Norman Pattis             npattis@pattisandsmith.com   3/4/2022 1:20:34 PM   SENT

Carmen Scott              carmen@fbtrial.com           3/4/2022 1:20:34 PM   SENT

Jacquelyn W.Blott         jblott@jblottlaw.com         3/4/2022 1:20:34 PM   SENT
22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 37
                                      of 183                                    3/8/2022 3:19 PM
                                                                                      Velva L. Price
                                                                                      District Clerk
                                                                                     Travis County
                                                                                  D-1-GN-18-001835
                            CAUSE NO. D-1-GN-18-001835                              Nancy Rodriguez




  NEIL HESLIN,                               IN THE 53RD
          Plaintiff;

  v.                                         DISTRICT COURT OF

  ALEX E. JONES, INFOWARS, LLC,
  FREE SPEECH SYSTEMS, LLC, AND              TRAVIS COUNTY, TEXAS
  OWEN SHROYER.
          Defendants.



                               NOTICE OF APPEARANCE

        Defendants Alex E. Jones, Infowars LLC, and Free Speech Systems LLC.,

 hereby notifies this Court that F. Andino Reynal, 917 Franklin Street, Suite 600,

 Houston, Texas    77002, (713.228.5900), State Bar No. 24060482, will appear as

 counsel in the above cause.


        Please send copies of all notices, correspondence, or communications of any

 kind regarding the above-styled and numbered cause to F. Andino Reynal at 917 Frank-

 lin Street, Suite 600, Houston, Texas 77002, (713,228.5900), areynal@frlaw.us.


                                         Respectfully submitted,


                                          /s/ F. Andino Reynal
                                         F. Andino Reynal
                                         Texas Bar No. 24060482
                                         815 Walker St., Suite 1553
                                         Houston, Texas 77002
                                         Phone: (713) 228-5900

                                  ATTORNEY FOR Alex E. Jones,
                                  Infowars LLC, and Free Speech Systems LLC.
 22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 38
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certificate of service that complies with all applicable rules.

Tish Swearington on behalf of F. Reynal
Bar No. 24060482
tish@frlaw.us
Envelope ID: 62413634
Status as of 3/10/2022 9:57 AM CST

Case Contacts

Name                  BarNumber    Email                              TimestampSubmitted       Status

Scott Weatherford                  sweatherford@jw.com                3/8/2022 3:19:20 PM      SENT

Joshua ARomero                     jromero@jw.com                     3/8/2022 3:19:20 PM      SENT

Charles L.Babcock                  cbabcock@jw.com                    3/8/2022 3:19:20 PM      SENT

Warren Lloyd Vavra    786307       warren.vavra@traviscountytx.gov    3/8/2022 3:19:20 PM      SENT

Velva Lasha Price     16315950     velva.price@traviscountytx.gov     3/8/2022 3:19:20 PM      SENT

Robert Linkin                      rlinkin@munckwilson.com            3/8/2022 3:19:20 PM      SENT

T. Wade Jefferies                  twadejefferies@twj-law.com         3/8/2022 3:19:20 PM      SENT

Bradley Reeves                     brad@brtx.law                      3/8/2022 3:19:20 PM      SENT

Marc Randazza                      ecf@randazza.com                   3/8/2022 3:19:20 PM      SENT

Norman Pattis                      npattis@pattisandsmith.com         3/8/2022 3:19:20 PM      SENT

Carmen Scott                       carmen@fbtrial.com                 3/8/2022 3:19:20 PM      SENT

Jacquelyn W.Blott                  jblott@jblottlaw.com               3/8/2022 3:19:20 PM      SENT

Federico Reynal       24060482     areynal@frlaw.us                   3/8/2022 3:19:20 PM      SENT

William Ogden                      bill@fbtrial.com                   3/8/2022 3:19:20 PM      SENT



Associated Case Party: ALEXEJONES

Name                 BarNumber    Email                         TimestampSubmitted    Status

T. Wade Jefferies                 twadejefferies@twj-law.com 3/8/2022 3:19:20 PM      SENT

Jacquelyn W.Blott                 jblott@jblottlaw.com          3/8/2022 3:19:20 PM   SENT



Associated Case Party: INFOWARS LLC

Name

Jacquelyn W.Blott
 22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 39
                                       of 183
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
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on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Tish Swearington on behalf of F. Reynal
Bar No. 24060482
tish@frlaw.us
Envelope ID: 62413634
Status as of 3/10/2022 9:57 AM CST

Associated Case Party: INFOWARS LLC

T. Wade Jefferies               twadejefferies@twj-law.com 3/8/2022 3:19:20 PM         SENT



Associated Case Party: OWEN SHROYER

Name                BarNumber   Email                         TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 3/8/2022 3:19:20 PM         SENT

Jacquelyn W.Blott               jblott@jblottlaw.com          3/8/2022 3:19:20 PM      SENT



Associated Case Party: FREE SPEECH SYSTEMS LLC

Name                BarNumber   Email                  TimestampSubmitted    Status

Jacquelyn W.Blott               jblott@jblottlaw.com   3/8/2022 3:19:20 PM   SENT



Associated Case Party: NEIL HESLIN

Name                  BarNumber   Email                          TimestampSubmitted       Status

Avishay Moshenberg                avi.moshenberg@mhllp.com       3/8/2022 3:19:20 PM      SENT

Mark D.Bankston                   mark@fbtrial.com               3/8/2022 3:19:20 PM      SENT
22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 40
                                      of 183                                    3/8/2022 4:15 PM
                                                                                        Velva L. Price
                                                                                        District Clerk
                                                                                       Travis County
                                                                                    D-1-GN-18-001835
                             CAUSE NO. D-1-GN-18-001835                               Nancy Rodriguez




  NEIL HESLIN,                                IN THE 53RD
          Plaintiff;

  v.                                          DISTRICT COURT OF

  ALEX E. JONES, INFOWARS, LLC,
  FREE SPEECH SYSTEMS, LLC, AND               TRAVIS COUNTY, TEXAS
  OWEN SHROYER.
           Defendant.



                         AMENDED NOTICE OF APPEARANCE

          Defendant Alex E. Jones, Infowars LLC, and Free Speech Systems LLC., hereby

 notifies this Court that F. Andino Reynal, 917 Franklin Street, Suite 600, Houston, Texas

 77002, (713.228.5900), State Bar No. 24060482, will appear as counsel in the above

 cause.


          Please send copies of all notices, correspondence, or communications of any

 kind regarding the above-styled and numbered cause to F. Andino Reynal at 917 Frank-

 lin Street, Suite 600, Houston, Texas 77002, (713,228.5900), areynal@frlaw.us.


                                          Respectfully submitted,


                                           /s/ F. Andino Reynal
                                          F. Andino Reynal
                                          Texas Bar No. 24060482
                                          917 Franklin St., Suite 600
                                          Houston, Texas 77002
                                          Phone: (713) 228-5900

                                   ATTORNEY FOR Alex E. Jones,
                                   Infowars LLC, and Free Speech Systems LLC.
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William Ogden                      bill@fbtrial.com                   3/8/2022 4:15:41 PM      SENT

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Associated Case Party: ALEXEJONES

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Associated Case Party: NEIL HESLIN

Name

William R.Ogden
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Associated Case Party: FREE SPEECH SYSTEMS LLC

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                                                                                                Travis County
                               NO. D-1-GN-18-001835                                          D-1-GN-18-001835
                                                                                                Selina Hamilton
  NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                    Plaintiff,            §
  v.                                      §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §
  OWEN SHROYER,                           §
                    Defendants.           §             261st JUDICIAL DISTRICT


                                D-1-GN-18-001842
  LEONARD POZNER AND                     §                   IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA                   §
                    Plaintiffs,          §
  v.                                     §                       TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §                       345th JUDICIAL DISTRICT


                                D-1-GN-18-006623
  SCARLETT LEWIS                         §                   IN THE DISTRICT COURT OF
                    Plaintiff,           §
  v.                                     §                       TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §                        98th JUDICIAL DISTRICT


      DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS REGARDING
                            CORPORATE DEPOSITION.

        Defendants, Alex E. Jones, Free Speech Systems, LLC, Infowars, LLC and Owen Shroyer

 file this their response to Plaintiffs’ Motion for Sanctions Regarding Corporate Deposition and in

 support thereof show as follows:
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 A.      INTRODUCTION

         On January 14, 2022, this Court granted Plaintiffs’ Motion for Sanctions and ordered

 Defendant Free Speech Systems, LLC “to present within the next 30 days a fully prepared

 corporate representative for the topics previously noticed.”

         The deposition notice issued to FSS required FSS to designate one or more persons to

 testify about eight topics:

      1. Sourcing and research for the videos described in Plaintiffs’ petitions.

      2. Individuals involved in the production of the videos described in Plaintiffs’ petitions.

      3. Internal editorial discussions regarding InfoWars’ coverage of the Sandy Hook Elementary

         School shooting.

      4. The documents produced by the company in response to Plaintiffs’ discovery requests.

      5. The audience reach of the videos described in Plaintiffs’ petitions.

      6. The company’s knowledge of the Plaintiffs.

      7. Efforts made by the company to preserve potential evidence.

      8. The company’s business structure and relationship with other parties.

      Defendants endeavored to identify one or more individuals to comply with the Court’s order

 keeping in mind the onerous task this individual or individual(s) would have to undertake to review

 Defendants’ production and interview individuals who could fully inform the corporate

 representative of the information required to fully comply. 1




 1 Rob Dew and Daria Karpova were previously found to have not sufficiently prepared when they were presented as
 corporate representatives on behalf of Defendant Free Speech Systems, LLC. (“FSS”). Daria Karpova, a single
 mother, was not in a position to spend the hours required in order to prepare. Rob Dew is no longer employed by
 FSS. Michael Zimmerman, who previously testified regarding the efforts made by the Defendants to preserve
 potential evidence, is no longer employed by FSS. Although contacted, neither Mr. Dew nor Mr. Zimmerman were
 able to take time away from their current employment to dedicate the hours necessary to prepare based on the Court’s
 requirements.

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                                      FACTS IN SUPPORT OF RESPONSE

        After two weeks spent trying to identify an individual or group of individuals to testify on

 behalf of the corporation, it became readily apparent that FSS would need to hire someone to fulfill

 that role. So, Defendant FSS reached out and found an individual, Brittany Paz, to familiarize

 herself with the topics contained in the Notice of Deposition.

        Ms. Paz was retained on January 31, 2022. Over the course of the next two weeks, she

 immersed herself in acquiring the knowledge she needed to testify as FSS’s corporate

 representative. Ms. Paz spent over one-hundred hours preparing for the deposition. Deposition of

 Brittany Paz dated February 14, 2022 (“Paz Dep.”), p. 21, l. 25 through p. 22, l. 3, attached hereto

 as Exhibit A and incorporated herein by reference as if set forth in full.

 Ms. Paz testified adequately

        1.      Sourcing

        Ms. Paz spent approximately thirty (30) hours watching videos and documenting the

 sourcing. Paz Dep. 23:13-16. She was not able to identify the videos she watched by date, as

 requested by Plaintiffs, because the videos are identified by a unique bates label and the videos

 themselves do not contain the date. Paz Dep. 128:6-19. To that extent, she does not know if the

 videos she reviewed are all the videos listed in the Plaintiffs’ Original Petitions. Paz Dep. 138:11-

 16.

        Plaintiffs make inaccurate assumptions about Ms. Paz’ excel spreadsheet on sourcing.

 Plaintiffs assume that if a cell was “blank,” then no effort was made to identify the sources. That

 is an inaccurate statement. The excel spreadsheet lists the topic(s), host, interviewees, and articles

 on every video as well as the sources of clips and articles shown in the videos to which she referred

 and also contained information regarding the videos. See, Binder of Brittany Paz, Exhibit B, pp.



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 5 through 10 and pp. 36 through 103, attached hereto and incorporated herein by reference as if

 set forth in full. In addition to the Excel Spreadsheet, Ms. Paz took over twenty-two (22) pages of

 notes. Id., p. 11 through 33, attached hereto and incorporated herein by reference as if set forth in

 full. Finally, Plaintiffs’ suggestion that Wolfgang Halbig’s sources are “reasonably available” to

 FSS is inaccurate. See Tex. R. Civ. Pro. 199.2(b)(1)(“A corporation must designate an individual

 to testify on behalf of the corporation as to matters that are known or reasonably available to the

 organization.”). Mr. Halbig is a third party over which FSS has no control.

        2.      Individuals involved in video production.

        Ms. Paz interviewed employees who were directly involved in the Sandy Hook broadcasts

 and articles. She interviewed current employees Alex Jones, Daria Karpova, Kit Daniels, Adan

 Salazar and Melinda Flores. Paz Dep. 14:5-8. She spoke with contract employee Paul John

 Watson, Paz Dep. 14:13-14. She spoke with former employees Rob Dew, Michael Zimmerman

 and Nico Aguilar. Paz Dep. 14:16-18 and 45:10-16.

        3.      Sandy Hook Editorial Discussions.

        Ms. Paz confirmed that the company does not have editorial discussions. Paz Dep. 170:2

 through 172:15.

        4.      Defendant’s document production.

        Ms. Paz spent between seventy to seventy-five hours reviewing documents. Ms. Paz

 reviewed the videos, the articles that were published in connections with the discovery, most of

 the depositions taken to date, the documents admitted as exhibits to those depositions, the Original

 Petitions, and e-mails. Paz Dep. 18:2-21. The e-mails alone comprised thousands of pages. Paz

 Dep. 29:12-14.




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         While she may not have understood the document process, she did have access to the

 document production and reviewed thousands of pages of documents. While it is true that Ms. Paz

 could not specifically identify a specific page in the thousands of documents, Plaintiffs only

 provided a limited number of pages from the production upon which to question Ms. Paz.

         5.       Audience Reach.

         By way of instruction, the Court directed that the corporate representative research the

 number of orders that were placed for the products sold on The Alex Jones Show, which she did.

 Ms. Paz acquired the number of orders placed during each day of the broadcasts. See, Exhibit B,

 p. 5 through 7. Although Ms. Paz testified that she collected sales data from PQPR, the vendor

 through whom FSS sells its supplements, Plaintiffs chose not to ask Ms. Paz specific questions

 about this information. Paz Dep. 385:23 through 389:12.

         6.       Knowledge of Plaintiffs.

         Ms. Paz educated herself on the information Defendant FSS had on the Plaintiffs. She

 testified that the information Defendant FSS had on Neil Heslin was from ZeroHedge, iBankCoin

 and the Megyn Kelly interview. Paz Dep. 79:15-80:3. Ms. Paz could not recall any information

 obtained by Defendant FSS about Scarlett Lewis. Paz Dep. 84:25 through 148: 2 Ms. Paz’

 testimony regarding Defendant FSS’ knowledge about Leonard Pozner begins on p. 104 and

 concludes at page 164. Ms. Paz’ testimony regarding Defendant FSS’ knowledge about Ms. de la

 Rosa begins on page 186 and concludes on page 197.




 2Many of the e-mails produced, including emails sent by Wolfgang Halbig, were not opened and, therefore, not within
 Defendant FSS’ knowledge. They read like spam. As such, Defendant FSS quit opening his emails. She has seen
 some of the e-mails from Wolfgang Halbig about Scarlett Lewis.

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        7.      Preservation of Evidence

        Ms. Paz’ testimony regarding preservation of evidence begins on page 28:13 of her

 deposition and ends on page 60 of her deposition with other testimony in response to random

 questions throughout.

        8.      Business Structure and Relationship.

        There is no organization chart for FSS that Ms. Paz of which Ms. Paz is aware. The only

 information with regard to business structure and relationships was that between FSS and

 InfoWars, LLC. Paz Dep. 390:7 through 393:12.

        In summary, Ms. Paz testified for over six (6) hours comprising over 400 pages of

 transcription regarding the topics upon which she was designated in the Notice of Deposition.


                                   ARGUMENTS & AUTHORITIES

 A.     FSS is the only party properly before the Court on this motion.

        Plaintiffs address Defendants collectively throughout their Motion for Sanctions and in

 their proposed order, but the only party properly before the Court on this motion is FSS. FSS was

 the only recipient and only named party in Plaintiffs’ notice of corporate representative deposition.

 To issue sanctions for presenting an unprepared corporate representative against a party that is not

 a corporation or against a corporation that was not the subject of the discovery request does not

 meet the standards set by the Supreme Court in TransAmerican Nat. Gas Corp. v. Powell, 811

 S.W.2d 913, 917 (Tex.1991). Accordingly, should the Court issue sanctions, the only party it

 should sanction is Defendant FSS.

 B.     Ms. Paz’s testimony, while not perfect, adequately addressed the topics in Plaintiffs’
        notice.

        As described in the fact section of this response, Ms. Paz adequately met the thrust of the

 eight topics Plaintiffs noticed. See ¶¶ TK-TK. It is not the job of the corporate deponent to invent

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 knowledge where none exists or to fit the facts to the plaintiffs’ theory of the case. Ms. Paz testified

 as she did and FSS is bound by her answers.

 C.      No Basis For A Punitive Monetary Sanction In the Amount of $1,000,000

         The most egregious example of the overreaching seen throughout the motion for sanctions

 is the request that this Court order defendants to pay a $1 million fine. The fact that the plaintiffs

 themselves describe this amount as “punitive” is ipso facto reason to reject this absurd request.

         While Plaintiff’s second proposed sanction is that “the Court orders that Defendants shall

 pay all of the expenses of discovery and taxable court costs in these lawsuits”, they do not attach

 any such evidence.

         Trial courts have discretion to impose monetary sanctions within limits, but any sanctions

 must be directed toward remedying prejudice caused to the innocent party. See Tex. R. Civ. P.

 215.2; Spohn Hosp. v. Mayer, 104 S.W.3d 878, 882 (Tex. 2003). Rule 215.2 allows a trial court

 to require the party who failed to obey a discovery order to pay “the reasonable expenses, including

 attorney fees, caused by the failure” and to make such orders regarding the failure as are just. Tex.

 R. Civ. P. 215.2(b), (b)(8). But to be just, a sanction must be based on a direct relationship between

 the particular offensive conduct and the sanction imposed, and the sanction must not be excessive

 vis-a-vis that conduct. Petrol. Solutions, Inc. v. Head, 454 S.W.3d 482, 489 (Tex.2014);

 TransAmerican Nat. Gas Corp. v. Powell, 811 S.W.2d 913, 917 (Tex.1991).

         These sanctions are designed to rectify discovery abuse by compensating the aggrieved

 party for expenses incurred. See Tex. R. Civ. P. 215.2(b)(8); Ford Motor Co. v. Tyson, 943 S.W.2d

 527, 533 (Tex.App.—Dallas 1997, orig. proceeding). Consequently, when a party seeks attorney’s

 fees as sanctions, the burden is on that party to put forth some affirmative evidence of attorney’s

 fees incurred and how those fees resulted from or were caused by the sanctionable conduct. See



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 Glass v. Glass, 826 S.W.2d 683, 688–89 (Tex.App.—Texarkana 1992, writ denied). However,

 while properly proved bills showing attorney’s fees the plaintiffs incurred as a result of discovery

 abuse might qualify as legally sufficient evidence to support a monetary sanction, no such evidence

 is attached to the motion sub judice.

        The most obvious reason no legal invoices are attached to the motion is that it would be

 arithmetically impossible to reach a sum of $1 million in attorney time when the underlying order

 sought to be vindicated was only entered 6 weeks ago.

 D.     The Defendants Are Inviting Reversible Error In Their Request That Designated
        Facts Be Deemed Established
        The hallmark Texas Supreme Court Case reversing a sanction taking the form of designated

 facts deemed as established is Spohn Hosp. v. Mayer, 104 S.W.3d 878, 883 (Tex. 2003) (reversible

 error for trial court to sanction late production of witness statements by designating facts as

 established). In Spohn Hosp., the Court stated that under TransAmerican, there must be “a direct

 nexus among the offensive conduct, the offender, and the sanction imposed.” Id. at 882. The Court

 noted that discovery sanctions that are so severe as to inhibit presentation of the merits of a case

 should be reserved to address a party’s flagrant bad faith or counsel’s callous disregard for the

 responsibilities of discovery under the rules. TransAmerican, 811 S.W.2d at 918. Sanctions such

 as the one proposed here are the type which inhibit the presentation of the merits. See Braden v.

 Downey, 811 S.W.2d 922, 929 (Tex.1991).

        This Court should find that FSS exercised good faith by designating Ms. Paz as corporate

 representative. Plaintiffs designated eight very broad topics of inquiry. Finding no qualified

 employee, FSS took the extraordinary step of hiring an individual to become as acquainted as

 possible, within the time limits established by the Court, with the eight topics Plaintiffs designated.

 Accordingly, even if, ultimately, this Court decides that Ms. Paz’s testimony failed to meet its


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 standards, the remedy should not be to turn a lack of evidence into affirmative evidence. At most,

 the Court should bar FSS from presenting evidence at trial on topics that Ms. Paz professed no

 knowledge of. Any other remedy would encourage aggressive plaintiffs to use corporate rep

 depositions not as a discovery tool, but to manufacture affirmative evidence where none exists.

 E.      No Basis To Disallow Further Discovery

         Courts of appeals have reversed when a trial court imposed the sanction of disallowing

 further discovery: When the sanction of disallowing discovery under Texas Rule of Civil

 Procedure 215(2)(b)(1) is imposed, it must be no more severe than necessary to satisfy its

 legitimate purposes. Global Services, Inc. v. Bianchi, 901 S.W.2d 934, 938 (Tex.1995) (orig.

 proceeding). Prohibiting FSS from conducting any further discovery prevents it from possibly

 obtaining evidence from Plaintiffs and would hamper the preparation for trial. Under such

 circumstances, the sanction would be inappropriate and excessive, and to impose it was a clear

 abuse of discretion. See Tjernagel v. Roberts, 928 S.W.2d 297, 304 (Tex. App.—Amarillo 1996).

                                           CONCLUSION

         Defendant FSS presented the most knowledgeable available person to testify on its behalf

 with respect to the eight topics designated in the Notice of Deposition. The record clearly reflects

 that Ms. Paz was prepared to testify and did testify as fully as any corporate representative could

 testify under the circumstances.

         Defendants respectfully request that Plaintiffs’ Motion for Sanctions be DENIED and for

 such other and further relief, both at law and equity, to which Defendants may show they are justly

 entitled.




                                                                                                   9
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                                              Respectfully submitted,

                                              LAW OFFICE OF JACQUELYN W. BLOTT
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                                              Jacquelyn W. Blott
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                                 CERTIFICATE OF SERVICE
 I certify that a true and correct copy of this Response has been forwarded to all counsel of record
 pursuant to Rule 21a of the Texas Rules of Civil Procedure on this the 8th day of March 2022 as
 follows:

 Mark Bankston                                Email: mark@fbtrial.com
 William Ogden                                Email: bill@fbtrial.com
 FARRAR & BALL, LLP
 1117 Herkimer Street
 Houston, Texas 77008
                                                      ____________________________________
                                                      Jacquelyn W. Blott




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Associated Case Party: ALEXEJONES

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Associated Case Party: INFOWARS LLC

Name                BarNumber   Email                  TimestampSubmitted     Status

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Associated Case Party: OWEN SHROYER

Name                BarNumber   Email                  TimestampSubmitted     Status

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Associated Case Party: FREE SPEECH SYSTEMS LLC

Name                BarNumber   Email                  TimestampSubmitted     Status

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Case Contacts

Name
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                                       of 183
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Jacquelyn W.Blott               jblott@jblottlaw.com              3/8/2022 11:58:31 AM   SENT
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                                                                                   District Clerk
                                                                                  Travis County
                                NO. D-1-GN-18-001835                           D-1-GN-18-001835
                                                                                  Selina Hamilton
   NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                     Plaintiff,            §
   v.                                      §            TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,           §
   FREE SPEECH SYSTEMS, LLC, and           §
   OWEN SHROYER,                           §
                     Defendants.           §             345th JUDICIAL DISTRICT


                                 D-1-GN-18-001842
   LEONARD POZNER AND                     §           IN THE DISTRICT COURT OF
   VERONIQUE DE LA ROSA                   §
                     Plaintiffs,          §
   v.                                     §              TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,          §
   and FREE SPEECH SYSTEMS, LLC,          §
                     Defendants.          §              345th JUDICIAL DISTRICT


                                 D-1-GN-18-006623
   SCARLETT LEWIS                         §           IN THE DISTRICT COURT OF
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   v.                                     §              TRAVIS COUNTY, TEXAS
   ALEX E. JONES, INFOWARS, LLC,          §
   and FREE SPEECH SYSTEMS, LLC,          §
                     Defendants.          §              345th JUDICIAL DISTRICT

      DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
                 REGARDING CORPORATE DEPOSITION




                  EXHIBIT A
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 77
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 89
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 90
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 91
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 92
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 93
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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22-01023-tmd Doc#1-18 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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Jacquelyn Blott on behalf of Jacquelyn Blott
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Envelope ID: 62398049
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Avishay Moshenberg                  avi.moshenberg@mhllp.com        3/8/2022 11:58:31 AM   SENT



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Jacquelyn Blott on behalf of Jacquelyn Blott
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Envelope ID: 62398049
Status as of 3/11/2022 10:19 AM CST

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Name                BarNumber   Email                  TimestampSubmitted     Status

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Associated Case Party: FREE SPEECH SYSTEMS LLC

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